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FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 521 1!\§\'1 t" `11 - "‘ .?

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LUTRICIA BARNETT BUCKLEY, et al.,

Plaintiffs, Case No.: 03-2874 D P

v.
CITY OF MEMPHIS, et al.,

Defendant.

 

ORDER DENYING MOTION TO RECONSIDER

 

Before the Court is Defendant Ofiicers’ motion seeking to have the Court reconsider its
March 23 order setting aside the Magistrate Judge’s order and withdrawing the reference Upon
review of the motion and response filed in opposition thereto, the Court finds that Defendants have
not established cause to grant reliet`. Accordingly, based on applicable case law and rules, and upon
consideration of the entire record, Defendants’ motion to reconsider is DENIED. The Court hereby
reaffirms its order of March 23, 2005, finding that the affidavits should not be stricken, and should

be considered in evaluating the propriety of` summary judgment

ITIS so oRI)EREDthis 35 day/onpl ,2005.

    

RNICE B UIE DONALD
TED STATES DISTRICT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

